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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF GEORGIA
                            MACON DIVISION

UNDER SEAL                          )
                                    )
     Plaintiff,                     )
                                    )   CIVIL ACTION NO: ____________
v.                                  )
                                    )   FILED UNDER SEAL
UNDER SEAL                          )
                                    )   DO NOT PLACE IN PRESS BOX
     Defendant.                     )   DO NOT ENTER ON PACER
                                    )
                                    )   DEMAND FOR JURY
                                    )
                                    )
                                    )
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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF GEORGIA
                           MACON DIVISION

UNITED STATES OF AMERICA   )
ex rel. Michael A. Rehfeldt,
                           )
                           )
     Plaintiff,            )
                           )                CIVIL ACTION NO: ____________
v.                         )
                           )                FILED UNDER SEAL PURSUANT
COMPASSIONATE CARE HOSPICE )
GROUP, INC.; COMPASSIONATE )
CARE HOSPICE               )                TO 31 U.S.C. §3730(b)(2)
OF CENTRAL GEORGIA, LLC;   )
COMPASSIONATE CARE HOSPICE )                DO NOT PLACE IN PRESS BOX
OF SAVANNAH, LLC; and      )                DO NOT ENTER ON PACER
COMPASSIONATE CARE HOSPICE )
OF LAKE AND SUMTER, INC.,  )                DEMAND FOR JURY
                           )
                           )
     Defendants.           )


                           QUI TAM COMPLAINT

      Relator Michael A. Rehfeldt, on behalf of himself and the United States of

America, alleges and claims against Defendants Compassionate Care Hospice of

Central Georgia, LLC, Compassionate Care Hospice of Savannah, LLC,

Compassionate Care Hospice of Lake and Sumter, Inc., and Compassionate Care

Hospice Group, Inc. (collectively “Defendants”) as follows:




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                         JURISDICTION AND VENUE

      1.     This action arises under the False Claims Act, 31 U.S.C. §§ 3729-33

(the “False Claims Act” or “FCA”).        Accordingly, this Court has jurisdiction

pursuant to 28 U.S.C. § 1331. Jurisdiction is also authorized under 31 U.S.C. §

3732(a).

      2.     Venue lies in this judicial district pursuant to 31 U.S.C. § 3732(a),

because Defendants qualify to do business in the State of Georgia, transact

substantial business in the State of Georgia, transact substantial business in this

judicial district, and can be found here. Additionally, and as described herein,

Defendants committed within this judicial district acts proscribed by 31 U.S.C. §

3729 and 31 U.S.C. § 3730. Specifically, inter alia, within this judicial district

Defendants knowingly submitted and caused to be submitted to the United States

false claims for payment for Medicare hospice services purportedly provided to

patients who (i) were not terminally ill and were not eligible or appropriate for the

Medicare Hospice Benefit, (ii) were never properly certified as terminally ill by a

physician, or (iii) were not provided individualized care as required by Medicare

Hospice Benefit conditions of payment. Defendants made or used false records

material to such false claims. Furthermore, Defendants unlawfully retaliated against

Relator Michael Rehfeldt within this judicial district due to his status as a False




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Claims Act whistleblower and based upon his efforts to prevent violations of the

False Claims Act.

                                           PARTIES

         3.     Defendant Compassionate Care Hospice Group, Inc. (“CCH”) was, at

all times relevant herein1, a Florida corporation with its principal place of business

in Parsippany, New Jersey, and subsidiaries and affiliates in numerous states. As of

February 4, 2019, its principal office is located in Baton Rouge, Louisiana.

         4.     CCH is a national hospice care provider with over 2,300 employees and

53 locations nationwide and generates approximately $188 million in annual

revenue.2

         5.     Defendant Compassionate Care Hospice of Central Georgia, LLC

(“CCH Georgia”) is a Georgia Limited Liability Company with its principal office

located in Baton Rouge, Louisiana as of February 8, 2019.

         6.     Defendant Compassionate Care Hospice of Savannah, LLC (“CCH

Savannah”) is a Georgia Limited Liability Company with its principal office located

in Baton Rouge, Louisiana as of February 8, 2019.




1
 See 2018 Florida Profit Corporation Annual Report, Compassionate Care Hospice Group, Inc.,
http://search.sunbiz.org/Inquiry/CorporationSearch/GetDocument?aggregateId=domp-
p16000014398-2a019ada-fdcb-4554-b537-62857686001c&transactionId=p16000014398-
1f666210-244b-4caf-9d8b-ab07e7d84603&formatType=PDF.
2
    See http://investors.amedisys.com/file/Index?KeyFile=395299420.
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       7.      Defendant Compassionate Care Hospice of Lake and Sumter, Inc.

(“CCH Lake and Sumter”) is a Florida For-Profit Corporation with its principal

office located in Baton Rouge, Louisiana as of February 4, 2019.

       8.      Relator Michael A. Rehfeldt (Mr. Rehfeldt or Relator) has extensive

experience in the healthcare industry and is a long-time hospice employee and

administrator. In 2008, Mr. Rehfeldt was hired by Vitas HealthCare Corp. (“Vitas”)

to be the general manager of its San Antonio operation. On January 30, 2009, Mr.

Rehfeldt filed a qui tam action against Vitas.3 In this qui tam action, Relator alleged

that Vitas “defrauded the United States through a systematic pattern and practice of

referring and enrolling non-terminal patients for hospice.” 4                   In his qui tam

Complaint, Mr. Rehfeldt alleged that prior to filing his qui tam Complaint he

reported concerns of ineligible hospice patients and fraudulent certifications to a

number of Vitas executives, including Peggy Pettit, who was then Vitas’ Chief

Operating Officer.5 Mr. Rehfedlt’s qui tam suit was voluntarily dismissed in April

2013, and the United States Department of Justice filed its own fraud suit on behalf

of the United States against Vitas. In or around October 2017, Vitas and the United



3
 See Rehfeldt ex rel. United States and Texas v. Vitas Healthcare Corp., et al., No. 3:09-cv-00203-
B (N.D. Tex.).
4
  See Complaint at ¶ 16, Rehfeldt ex rel. United States and Texas v. Vitas Healthcare Corp., et al.,
No. 3:09-cv-00203-B (N.D. Tex.).
5
   Id. ¶ ¶ 8, 19, 20.


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States reached a high-profile, $75 million dollar settlement of the False Claims Act

cases pending against Vitas.6

        9.     On or about September 12, 2016 – prior to any general public

knowledge of his status as an FCA whistleblower against Vitas hospice – CCH hired

Mr. Rehfeldt to serve as Program Director for CCH Georgia in their Warner Robins,

Georgia program. The position of program director was the highest managerial

position in the Warner Robins office. The program director was head of the Warner

Robins office and reported to CCH and CCH-Georgia. In July 2017, Mr. Rehfeldt

was assigned as Interim Program Director of CCH Savannah in CCH’s Pooler

program in addition to his duties as Program Director for CCH Central Georgia. In

February 2018, Relator was effectively promoted and re-assigned as the Program

Director of CCH Lake and Sumter in The Villages, Florida, effective as of March 1,

2018.

        10.    Relator’s responsibilities as Program Director included, among other

things, managing all employees in each of the aforementioned CCH office locations,

hiring staff for these offices as needed, and responding to complaints made by

patients and/or their families regarding hospice care provided by each of these

offices.



6
   https://www.justice.gov/opa/pr/chemed-corp-and-vitas-hospice-services-agree-pay-75-million-
resolve-false-claims-act
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      11.    Relator has knowledge, through the performance of his own duties and

through conversations with CCH employees and officers, CCH admitted and

recertified patients to hospice who did not meet criteria for terminal diagnosis and

were not hospice eligible.     As an example, around September 2016, Relator

discussed approximately 20 patients’ non-terminal status with CCH clinical staff and

medical directors, including Dr. Mohammad Naife Al-Shroof, then the medical

director of the Warner Robins program. Dr. Al-Shroof acknowledged to Relator that

he was aware that certain patients were non-terminal yet he had still certified these

patients as eligible based on explicit instruction from CCH management. Relator

routinely reported these concerns to CCH Chief Executive Officer Judith Grey,

including making such reports in September 2016.

      12.    Through his experience as a Program Director at CCH from September

2016 to April 27, 2018, Relator learned that Defendants conducted their operations

with the intent to defraud the United States by submitting claims for hospice care

with complete disregard for patient eligibility, Medicare billing requirements, or

compliance with other federal healthcare laws and regulations. Specifically, Relator

has knowledge that CCH falsely certified patients as terminally ill despite patients’

objective clinical characteristics being directly at odds with a terminal diagnosis and

that CCH allowed nonmedical personnel to review patient records to select patients

who were “qualified” for hospice service. Relator has knowledge that Defendants’


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medical directors often did not participate in the certification process and at times

did not attend Interdisciplinary Group Meetings at all.        At least one medical

director’s secretary forged the physician’s signature on certifications to fraudulently

certify patients as appropriate for the Medicare Hospice Benefit; yet, Defendants

submitted claims to Medicare for these patients who had not been properly certified

as terminally ill by a physician. Relator additionally observed the manner and

methods that CCH used to effect its fraud including utilizing marketing quotas and

basing compensation on the number of patients enrolled in hospice at CCH, which

incentivized personnel to accept patients onto service and keep patients on service

when they were not hospice eligible.

      13.    Throughout his employment with CCH, Relator reported these issues

to CCH management, including directly to CEO Judith Grey. The issues of non-

terminal patients being falsely certified as qualifying for the Medicare Hospice

Benefit are precisely the same issues that Relator alleged in his qui tam case against

Vitas and that contributed to Vitas’ paying $75 Million to settle these allegations.

      14.    On February 4, 2019, Amedisys, Inc. (“Amedisys”) announced that it

had completed an acquisition of CCH. Amedisys is one of America’s leading

independent home health, hospice and personal care companies. The acquisition was

valued at $340 million. This transaction made Amedisys the third largest hospice




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provider in the nation;7 Amedisys now cares for more than 11,000 hospice patients

daily in 33 states, operating 137 hospice care centers. CCH is marketed and operated

as an Amedisys company, advertising that it is “officially part of the Amedisys

family.”8

       15.    Prior to filing this Complaint, Relator voluntarily disclosed to the

United States Government the information upon which this action is based. To the

extent that any public disclosure has taken place as defined by 31 U.S.C.

§3730(e)(4)(A), Relator is the original source of the information for purposes of that

Section. Alternatively, Relator has knowledge that is independent of and materially

adds to any purported publicly disclosed allegations or transactions, and Relator

voluntarily provided that information to the Government before filing this

Complaint. Relator is serving contemporaneously herewith a statement of the

material evidence in his possession upon which his claims are based.




7
  Amedisys Closes on Acquisition of Compassionate Care Hospice, February 4, 2019 Company
Release, http://investors.amedisys.com/file/Index?KeyFile=396603957.
8
   https://cchnet.net. Since the February 2019 acquisition, CCH lists its headquarters in Baton
Rouge, Louisiana, Amedisys’ corporate home. See 2019 Florida Profit Corporation Annual Report,
Compassionate                  Care              Hospice              Group,               Inc.,
http://search.sunbiz.org/Inquiry/CorporationSearch/GetDocument?aggregateId=domp-
p16000014398-2a019ada-fdcb-4554-b537-62857686001c&transactionId=p16000014398-
d3f1196c-1d83-4030-8ed3-74a909cebbb1&formatType=PDF.
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                                THE FALSE CLAIMS ACT

      16.    The Federal False Claims Act (“FCA”), 31 U.S.C. §§ 3729-3733,

provides, inter alia, that any person who: (1) knowingly presents, or causes to be

presented, a false or fraudulent claim for payment or approval; (2) “knowingly

makes, uses, or causes to be made or used, a false record or statement material to a

false or fraudulent claim; (3) knowingly makes, uses, or causes to be made or used,

a false record or statement material to an obligation to pay or transmit money or

property to the Government; (4) knowingly conceals or knowingly and improperly

avoids or decreases an obligation to pay or transmit money or property to the

Government or (5) conspires to commit a violation of the False Claims Act is liable

to the United States for a civil monetary penalty of not less than $5,500 and not more

than $11,000, as adjusted by the Federal Civil Penalties Inflation Adjustment Act of

1990 (28 U.S.C. § 2461 note; Public Law 104–410 [1]), plus treble damages. 31

U.S.C. § 3729(a)(1)(A), (B), (C), (G).

      17.    Under the FCA, (1) the terms “knowing” and “knowingly” (A) mean

that a person, with respect to information (i) has actual knowledge of the

information; (ii) acts in deliberate ignorance of the truth or falsity of the information;

or (iii) acts in reckless disregard of the truth or falsity of the information; and (B)

require no proof of specific intent to defraud. 31 U.S.C. § 3729(b)(1).




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      18.     The FCA defines the term “claim” as (A) any request or demand,

whether under a contract or otherwise, for money or property and whether or not the

United States has title to the money or property, that (i) is presented to an officer,

employee, or agent of the United States; or (ii) is made to a contractor, grantee, or

other recipient, if the money or property is to be spent or used on the Government’s

behalf or to advance a Government program or interest, and if the United States

Government (I) provides or has provided any portion of the money or property

requested or demanded; or (II) will reimburse such contractor, grantee, or other

recipient for any portion of the money or property which is requested or demanded.

31 U.S.C. § 3729(b)(2).

      19.     The FCA defines the term “obligation” as—an established duty,

whether or not fixed, arising from an express or implied contractual, grantor-grantee,

or licensor-licensee relationship, from a fee-based or similar relationship, from

statute or regulation, or from the retention of any overpayment. 31 U.S.C. §

3729(b)(3).

      20.     Additionally, the FCA provides relief from retaliatory actions -- (1) In

general.-- Any employee, contractor, or agent shall be entitled to all relief necessary

to make that employee, contractor, or agent whole, if that employee, contractor, or

agent is discharged, demoted, suspended, threatened, harassed, or in any other

manner discriminated against in the terms and conditions of employment because of


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lawful acts done by the employee, contractor, agent or associated others in

furtherance of an action under this section or other efforts to stop 1 or more violations

of this subchapter. 31 U.S.C. § 3730(h)

        21.     The anti-retaliation provision of the FCA, “Section 3730(h), added in

1986, was designed to protect persons who assist the discovery and prosecution of

fraud and thus to improve the federal government's prospects of deterring and

redressing crime.” Cestra v. Mylan, Inc., 2015 WL 2455420, at *7 (W.D.Pa. 2015)

citing U.S. ex rel. Schweizer v. Oce N.V., 677 F.3d 1228, 1237 (D.C.Cir.2012)

                       THE MEDICARE HOSPICE BENEFIT

   I.         Background

        22.     Through the Medicare Program (“Medicare”), Title XVIII of the Social

Security Act, 42 U.S.C. §§ 1395, et seq., the United States provides health insurance

coverage for eligible citizens. Medicare is overseen by the United States Department

of Health and Human Services through its Center for Medicare and Medicaid

Services (“CMS”).

        23.     Through the Medicare Hospice Benefit, Medicare pays for hospice care

for certain terminally ill patients who elect to receive such care. See 42 U.S.C. §

1395d. A patient is deemed to be terminally ill if the patient “has a medical

prognosis such that his or her life expectancy is 6 months or less if the disease runs

its normal course.” 42 C.F.R. § 418.3. By electing the Medicare hospice benefit,


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patients waive all rights to curative care and in so doing agree to forego any Medicare

coverage for curative treatment. 42 U.S.C. § 1395d; see also 48 Fed. Reg. 56008,

56010 (Dec 16, 1983). A patient may at any time revoke his or her hospice election

and resume Medicare Part A coverage. Although, throughout the duration of the

hospice election, all curative treatment for the terminal illness ceases. Id.; 42 C.F.R.

§ 418.28.

        24.      CCH’s aggressive, profit-maximizing business model represents an

intrusion of greed into an institution founded upon philosophical, spiritual, and

medical notions of charity and care-giving. The impetus for the modern hospice

movement in the United States is attributed to psychiatrist Dr. Elizabeth Kübler

Ross, whose 1969 On Death and Dying is acknowledged to have altered modern

perceptions about care for the terminally ill.9 In the 1970s, the first hospice facilities

opened their doors as volunteer organizations dedicated to bringing comfort and

humanity to terminal patients. Testifying in 1975 before the U.S. Senate Special

Sub-committee on Aging, Dr. Kübler Ross stated that “[w]e should not

institutionalize people. We can give families more help with home care and visiting

nurses, giving the families and the patients the spiritual, emotional, and financial



9
  For a detailed history of the hospice movement, Medicare’s hospice benefit, and enforcement efforts by the United
States regarding Medicare regulations relating to hospice fraud, see generally Barger, James Fredrick, Life, Death,
and Medicare Fraud: The Corruption of Hospice and What the Private Public Partnership Under the Federal False
Claims Act is Doing About It (January 1, 2016), Georgetown University, American Criminal Law Review, Vol. 53,
No. 1, 2016. Available at SSRN: https://ssrn.com/abstract=274754.

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help in order to facilitate the final care at home.” In 1982, Congress created a

provisional Medicare Hospice Benefit, made permanent in 1986. By 1990, 800

hospice companies were caring for 76,491 patients, with an average length of stay

of 48.4 days.

        25.      From such humble, altruistic roots, hospice care has become big

business. Medicare hospice payments rose from $205 million in 1989 to $9.2 billion

in 2006.

        26.      Since then, the situation has gotten significantly worse. Medicare

hospice payments have continued to rise and reached $17.8 billion in 2017 -- 93

percent above 2006 spending.10 In a 2018 report, the Department of Health and

Human Services, Office of Inspector General (HHS-OIG) identified a number of

common fraud schemes that negatively affect beneficiaries, their families and the

integrity of the Medicare hospice benefit.                      Specifically, HHS-OIG found that

common fraud schemes include “enrolling beneficiaries who are not eligible for

hospice care.”11




10
   U.S. Department of Health and Human Services, Office of Inspector General. Hospice Deficiencies Pose Risks to
Medicare       Beneficiaries;     OEI-02-17-00020.   July     2019.     https://oig.hhs.gov/oei/reports/oei-02-17-
00020.pdf?utm_source=summary-page&utm_medium=web&utm_campaign=OEI-02-17-00020-PDF
11
   U.S. Department of Health and Human Services, Office of Inspector General. Vulnerabilities in the Medicare
Hospice Program Affect Quality Care and Program Integrity.             OEI -02-16-00570; July 2018. p. 2;
https://oig.hhs.gov/oei/reports/oei-02-16-00570.pdf


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      27.    Relator learned through his personal, first-hand experience and

observations that CCH is among the corporations that are fraudulently using hospice

as a profit center by presenting false claims for per diem reimbursements for

Medicare beneficiaries who are not terminally ill, and whom CCH knew or should

have known did not qualify for the Medicare Hospice Benefit, and by knowingly

retaining overpayments from Medicare for these claims.


      II.    Hospice Benefits, Reimbursements, and Requirements.

      28.    Hospice covers a broad set of palliative services for qualified

beneficiaries who have a life expectancy of six months or less as determined by their

physician. See 42 C.F.R. § 418.22. Hospice is designed to provide pain relief,

comfort, and emotional and spiritual support to patients with a terminal diagnosis.

Qualified hospice patients may receive skilled nursing services, medication for pain

and symptom control, certain physical and occupational therapy, counseling, home

health aide and homemaker services, short-term inpatient care, inpatient respite care,

and other services for the palliation and management of the terminal illness. See 42

C.F.R. § 418.202.

      29.    Prior to admitting a patient or billing Medicare for hospice services, a

hospice must obtain written certification of terminal illness (“COTI”) for each

patient for each benefit period that the patient remains under the hospice’s care. See

42 C.F.R. § 418.22(a). The COTI must be signed by both: (a) the hospice medical

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director or physician member of the patient’s interdisciplinary team; and (b) the

individual patient’s attending physician. 42 C.F.R. § 418.22(c). This COTI must

be based on a physician’s clinical judgment regarding the normal course of the

individual’s illness. 42 C.F.R. § 418.22(b).

      30.    The COTI must conform to the following requirements: (1) The

certification must specify that the individual’s prognosis is for a life expectancy of

6 months or less if the terminal illness runs its normal course; (2) Clinical

information and other documentation that support the medical prognosis must

accompany the certification and must be filed in the medical record with the written

certification; and (3) The physician must include a brief narrative explanation of the

“clinical findings” that supports a life expectancy of 6 months or less as part of the

certification and recertification forms, or as an addendum to the certification and

recertification forms. 42 C.F.R. § 418.22(b) (emphasis added).

      31.    Additionally, prior to the start of each patient’s third benefit period (at

which point the patient would exceed 6 months of life from the time of their initial

COTI), a hospice physician or hospice nurse practitioner must have a face-to-face

encounter with each hospice patient to gather clinical findings to determine

continued eligibility for hospice care. 42 C.F.R. 418.22(a)(4). The face-to-face

encounter (or “face-to-face visit”) must occur prior to, but no more than 30 days

prior to, the third benefit period recertification and every benefit period


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recertification thereafter. “The hospice face-to-face encounter is an administrative

requirement related to certifying the terminal illness. By itself, it is not billable, as

it is considered administrative.” Medicare Benefit Policy Manual Chapter 9 §40.1.3.

      32.    The physician’s narrative of terminal illness must reflect “the patient’s

individual clinical circumstances and cannot contain check boxes or standard

language used for all patients.” 42 C.F.R. § 418.22(b)(3)(iv) (emphasis added).

      33.    All COTIs must be signed and dated by the physician(s) and must

include the benefit period dates to which the COTI applies.               42 C.F.R. §

418.22(b)(5).

      34.    Through Medicare and/or Medicaid (indirectly through the States), the

United States reimburses hospice providers for services to qualified beneficiaries on

a per diem rate for each day that a qualified beneficiary is enrolled. 42 C.F.R. §

418.302. Medicare or Medicaid makes a daily payment, regardless of the amount of

services provided on a given day and even on days when no services are provided.

Payments are made according to a fee schedule with four base payment amounts for

the four different categories of care: routine home care (RHC), continuous home

care (CHC), in-patient respite care (IRC), and general in-patient care (GIC).

      35.    In return for the Hospice per diem payment, hospices are obligated to

provide patients with all covered palliative services. See 42 C.F.R. § 418.202. The

hospice must design a plan of care (POC) inclusive of all covered services necessary


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to meet the patient’s needs. See 42 C.F.R. § 418.56. That POC must be in place

prior to the hospice’s submission of a Medicare bill.

        III.    The Hospice Aggregate Cap

        36.     Medicare imposes on hospice providers an annual per-patient average

cap for reimbursements (the “Aggregate CAP”). The Aggregate CAP is set by CMS

according to federal regulations, and in 2019 stood at $29,205.44 per patient.12 The

Aggregate CAP is not related to expenditures on individual patients. Rather, it limits

the aggregate reimbursement that a provider may receive from Medicare per patient,

per year. A hospice provider’s compliance is calculated by dividing its total

submitted reimbursements over a year by the number of non-duplicative patients

enrolled during that year. Thus, every first-time Medicare hospice patient enrolled

increases a hospice’s Aggregate CAP amount by $29,205.44.

        37.     The Aggregate CAP is intended to avoid capping the number of days

an individual patient may receive hospice care – in recognition that some terminally

ill patients may die earlier than the expected 6 months and some terminally ill

patients may unexpectedly live longer than 6 months – while recognizing that the

hospice provider should not be, in aggregate, billing for its entire census of patients

in excess of 6 months on average. By refusing to limit the number of days an



12
 See https://www.cms.gov/Outreach-and-Education/Medicare-Learning-Network-
MLN/MLNMattersArticles/downloads/MM10631.pdf

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individual patient could remain on hospice in recognition of the inexact science of

terminal prognosis, Congress did not intend to give an unlimited revenue stream to

unscrupulous hospices who routinely fail – to their own benefit – to assess patients

for eligibility.

       38.    Medicare will not pay for hospice services provided to patients who are

not terminally ill. See 42 U.S.C. §1395y.


       IV.    Hospice Interdisciplinary Group, Hospice Care Planning, and
              Coordination of Hospice Services.

       39.    A hospice provider must designate an Interdisciplinary Group (“IDG”)

in consultation with the patient’s attending physician and must prepare a written Plan

of Care (“POC”) for each patient. 42 C.F.R. §418.56. The POC must specify the

hospice care and services necessary to meet the patient-specific and family-specific

needs identified in the comprehensive assessment as such needs relate to the terminal

illness and related conditions. Id.

     40. Pursuant to 42 C.F.R. §418.56(a)(1), the IDG must include at a bare
minimum:

       i. a doctor of medicine or osteopathy (who is an employee or under contract
       with the hospice);

       ii. a registered nurse;

       iii. a social worker; and

       iv. a pastoral or other counselor.


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      41.     All hospice care and services furnished to patients and their families

under the Medicare Hospice Benefit must follow an individualized written POC

established   by    the IDG    in   collaboration     with   the attending   physician,

the patient or representative, and the primary caregiver, in accordance with

the patient’s needs. 42 C.F.R. §418.56(b). All Medicare hospice providers must

ensure that each patient and the primary care giver(s) receive education

and training provided by the hospice as appropriate to their responsibilities for the

care and services identified in the POC.        Id.    “The hospice must develop an

individualized written Plan of Care for each patient.”          42 C.F.R. §418.56(c)

(emphasis added). The POC must reflect patient and family goals and interventions

based on the problems identified in the initial, comprehensive, and updated

comprehensive assessments. Id.

      42.     Pursuant to 42 C.F.R. §418.56(c), a patient’s individualized POC must

include all services necessary for the palliation and management of the terminal

illness and related conditions, including the following:


      i.      interventions to manage pain and symptoms;

      ii.     a detailed statement of the scope and frequency of services necessary
              to meet the specific patient and family needs;

      iii.    measurable outcomes anticipated from implementing and coordinating
              the plan of care;

      iv.     drugs and treatment necessary to meet the needs of the patient;

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      v.     medical supplies and appliances necessary to meet the needs of
             the patient; and

      vi.    the interdisciplinary group's documentation of the patient's
             or representative's level of understanding, involvement, and agreement
             with the plan of care, in accordance with the hospice’s own policies, in
             the clinical record.

      43.    The hospice IDG (in collaboration with the individual's attending

physician, if any) must review, revise and document the individualized POC as

frequently as the patient’s condition requires, “but no less frequently than every 15

calendar days.” 42 C.F.R. §418.56(d) (emphasis added).         A revised POC must

include information from the patient's updated comprehensive assessment and must

note the patient’s progress toward outcomes and goals specified in the POC. Id.

      44.    Pursuant to 42 C.F.R. §418.56(e), the hospice must develop and

maintain a system of communication and integration, in accordance with

the hospice’s own policies and procedures, to:


      i.     Ensure that the interdisciplinary group maintains responsibility for
             directing, coordinating, and supervising the care and services
             provided;

      ii.    Ensure that the care and services are provided in accordance with the
             plan of care;

      iii.   Ensure that the care and services provided are based on all assessments
             of the patient and family needs;




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      iv.    Provide for and ensure the ongoing sharing of information between all
             disciplines providing care and services in all settings, whether the care
             and services are provided directly or under arrangement;

      v.     Provide for an ongoing sharing of information with other non-hospice
             healthcare providers furnishing services unrelated to the terminal
             illness and related conditions.

      45.    Additionally, it is a universal requirement of the Medicare program that

all services provided must be reasonable and medically necessary. See 42 U.S.C.

§1395y(a)(1)(A); 42 U.S.C. § 1396, et seq.; 42 C.F.R. § 410.50. Medicare providers

may not bill the United States for medically unnecessary services or procedures

performed solely for the profit of the provider. Id.

      46.    Finally, to enroll as a Medicare provider, Defendants were required to

submit a Medicare Enrollment Application for Institutional Providers. See CMS

Form 855A. In submitting Form 855A, Defendants made the following

“Certification Statement” to CMS:


      I agree to abide by the Medicare laws, regulations and program
      instructions that apply to this provider. The Medicare laws, regulations,
      and program instructions are available through the Medicare contractor.
      I understand that payment of a claim by Medicare is conditioned upon
      the claim and the underlying transaction complying with such laws,
      regulations, and program instructions (including, but not limited to, the
      Federal Anti-Kickback statute and the Stark law), and on the provider’s
      compliance with all applicable conditions of participation in Medicare.

Form CMS-855A.




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       47.    Defendants then billed Medicare by submitting a claim form (CMS

Form 1450) to the Fiscal Intermediary (FI) responsible for administering Medicare

hospice claims on behalf of the United States. See CMS Form 1450. Each time

Defendants submitted a claim to the United States through the FI, Defendants

certified that the claim was true, correct, and complete, and complied with all

Medicare laws and regulations, including but not limited to the ones cited above.

       48.    As set forth in detail below, Defendants routinely admitted and billed

Medicare for hospice patients who plainly and objectively did not meet Medicare

criteria for their hospice diagnosis and were not eligible or appropriate for hospice,

and Defendants falsely billed the United States for these services. Additionally,

Defendants knowingly made false records or statements that were material to getting

these false or fraudulent claims paid by Medicare.

       V. Defendants’ Corporate Integrity Agreement

       49.    In January 2015, as part of a settlement with the United States

Department of Health and Human Services (“HHS”) to resolve allegations that CCH

had submitted false claims to the Medicare program13, Compassionate Care Hospice

Group, Ltd. (“CCH Group”) and Compassionate Care Hospice of New York, LLC




13
    See https://www.justice.gov/usao-sdny/pr/manhattan-us-attorney-settles-civil-fraud-claims-
against-compassionate-care-hospice.


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(“CCH-New York”) entered into a Corporate Integrity Agreement (“CIA”)14 with

the Office of the Inspector General (“OIG”) of the HHS. The False Claims Act

actions encompassed by the settlement alleged, inter alia, that CCH had submitted

fraudulent claims for reimbursement by Medicare and Medicaid for hospice nursing

services not adequately provided by CCH-NEW YORK.

       50.     By entering into the CIA with HHS-OIG, CCH agreed to implement

certain institutional compliance measures and submit to monitoring by HHS-OIG

for five years. However, CCH’s short-lived focus on compliance with the CIA

apparently cut into profits and was all but abandoned by CCH’s corporate
              15
leadership.        Specifically, when Relator’s employment began with CCH in

September 2016, it was clear to him that CCH and its management had once again

adopted practices designed to result in higher corporate profits through the

submission of false claims to the Medicare program.

       51.     The Effective Date of the CIA is January 30, 2015, and it imposes

compliance obligations upon CCH Group and CCH-New York for a period of five

years. In addition to requiring CCH Group and CCH-New York to establish and



14
  See https://oig.hhs.gov/fraud/cia/agreements/Compassionate_Care_Hospice_01302015.pdf.
15
   See also https://www.justice.gov/usao-ndga/pr/hospice-pay-24-million-resolve-false-claims-
act-allegations. On July 6, 2017, the United States Attorneys’ Office for the Northern District of
Georgia announced that CCH Group and Compassionate Care Hospice of Atlanta, LLC (CCH-
Atlanta) had agreed to pay $2.4 million to HHS-OIG to resolve allegations from 2010 that CCH
Group and CCH Atlanta had submitted or caused the submission of false claims to Medicare and
Medicaid by engaging in improper financial relationships with contracted physicians.
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maintain a robust Compliance Program, the CIA also imposes discrete obligations

when CCH Group and CCH-New York learn of certain occurrences. One such

provision regarding “Overpayments” states, “[i]f at any time, CCH identifies any

Overpayment (defined as “the amount of money CCH has received in excess of the

amount due and payable under any Federal health care program requirements”),

CCH shall repay the Overpayment to the appropriate payor (e.g. Medicare

Contractor) within 60 days after identification of the Overpayment and take remedial

steps within 90 days after identification …to correct the problem, including

preventing the underlying problem and the Overpayment from recurring.” 16

       52.    CCH Group and CCH-New York must also promptly notify the OIG of

“Reportable Events”—which include: “a Substantial Overpayment” and “a matter

that a reasonable person would consider a probable violation of criminal, civil, or

administrative laws applicable to any Federal health care program for which

penalties or exclusion may be authorized.”17

       53.    Additionally, CCH Group and CCH-New York must submit an Annual

Report that includes, inter alia, a summary of Reportable Events and


16
  Part III, Section I., Corporate Integrity Agreement Between the Office of the Inspector General
of the Department of Health and Human Services; Compassionate Care Hospice Group, Ltd.; and
Compassionate Care Hospice of New York, LLC (January 30, 2015).
17
  Part III, Section J., Corporate Integrity Agreement Between the Office of the Inspector General
of the Department of Health and Human Services; Compassionate Care Hospice Group, Ltd.; and
Compassionate Care Hospice of New York, LLC (January 30, 2015).
.
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Overpayments.18 Each Annual Report must include a certification that CCH Group

and CCH-New York is in compliance with its obligations under the CIA and

Settlement Agreement and that the Annual Report is accurate and truthful.19

           54.   The CIA also establishes Stipulated Penalties for violations of the CIA.

“As a contractual remedy, CCH and OIG agree that failure to comply with certain

obligations as set forth in this CIA may lead to the imposition of monetary

penalties.”20 Specifically, the CIA imposes a Stipulated Penalty of $2,500 (which

shall begin to accrue on the day after the date the obligation became due) for each

day CCH fails to establish and implement any of the following obligation as

described in Sections III and IV including: “policies and procedures regarding the

repayment of Overpayments; the repayment of Overpayments as required by Section

III.I; reporting of Reportable Events.” 21 Moreover, CCH has agreed to pay a

Stipulated Penalty of $50,000 for each false certification submitted by or on behalf

of CCH as part of its Implementation Report, Annual Report, additional



18
   Part V, Section B., Corporate Integrity Agreement Between the Office of the Inspector General
of the Department of Health and Human Services; Compassionate Care Hospice Group, Ltd.; and
Compassionate Care Hospice of New York, LLC January 30, 2015).
19
   Part V, Section C., Corporate Integrity Agreement Between the Office of the Inspector General
of the Department of Health and Human Services; Compassionate Care Hospice Group, Ltd.; and
Compassionate Care Hospice of New York, LLC January 30, 2015).
20
  Part X, Section C., Corporate Integrity Agreement Between the Office of the Inspector General
of the Department of Health and Human Services; Compassionate Care Hospice Group, Ltd.; and
Compassionate Care Hospice of New York, LLC January 30, 2015).
21
     Id.
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documentation to a report (as requested by the OIG), or otherwise required by the

CIA.

       55.   As the facts alleged in this Complaint demonstrate, CCH’s corporate

policies – developed while subject to the CIA – encourage and cause the submission

of false claims for hospice care, are designed to obfuscate and conceal false claims,

“Reportable Events” and “Overpayments” and result in false certifications on CIA

required reports, including the Annual Report for at least the years of 2016, 2017

and 2018. As such, CCH is openly violating the CIA by continuously failing to

comply with the CIA and materially breaching the CIA. Further, by making false

statements and records to conceal and improperly avoid or decrease obligations to

pay money to the Government as required for violations of the CIA, CCH has

violated the False Claims Act. 31 U.S.C. 3729(a)(1)(G).

                DEFENDANTS’ FRAUDULENT SCHEMES

       56.   Prior to Relator’s employment with CCH in September 2016 through

at least April 27, 2018, CCH defrauded the United States through submitting, or

causing the submission of, false or fraudulent claims to Medicare for ineligible

hospice patients, failing to report past overpayments for ineligible patients and

reimburse Medicare for these overpayment, falsely certifying compliance with the

CIA and thereby failing to report material violations of the CIA and avoiding

payment obligations as required by the CIA.


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      57.    As a result of Defendants’ submission of, or causing the submission of,

claims that were knowingly false, or with reckless disregard or deliberate ignorance

of their falsity, and/or their “knowing” concealment or avoidance of their obligation

to the Government, the United States was damaged.

      58.    Defendants acted with intentional disregard, reckless disregard, or

deliberate ignorance to the statements of staff, as well as their own records, which

demonstrated CCH systematically enrolled and retained patients that were ineligible

for the Medicare Hospice Benefit.

      59.    Consequently, relying on Defendants’ material false certifications,

Medicare paid Defendants monies that would not have been paid but for Defendants’

false representations and Defendants retained payments that should have been

reimbursed to Medicare

              Defendants Bill Medicare for Ineligible Hospice Patients

      60.    Defendants systematically defrauded Medicare and Medicaid by

recruiting and cycling non-qualifying patients through the hospice division.

Defendants admitted patients whom it knew were chronically – not terminally – ill

and were not eligible or appropriate for the Medicare hospice benefit and falsely

billed the United States for their care.

      61.    Almost immediately upon assuming his duties as a CCH Program

Director for CCH Georgia in its Warner Robins, Georgia location, Relator learned


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that Defendants had deliberately admitted and retained non-terminal patients and

failed to report the overpayments for ineligible patients and reimburse Medicare for

these overpayments. In assuming his duties in September 2016 as Warner Robins

Program Director, Relator found that the hospice census was made up of chronically

ill, elderly patients who did not have a legitimate hospice diagnosis and that the

hospice team and management were well-aware of this fact. One strong indicator of

this state of affairs was that the agency had accrued Aggregate CAP liability of over

$200,000.00 – which in Mr. Rehfeldt’s long experience as a hospice administrator

demonstrates that a hospice has admitted a grossly inordinate number of patients

who do not have a credible six month prognosis. See 42 U.S.C. §1395y.

      62.    When Relator attended the agency IDG meeting and discussed with the

team the fact that roughly one-third of the patient census did not have an actual

terminal prognosis of six months or less, he found that the clinical personnel –

including medical director Dr. Mohammad Naife Al-Shroof – were aware that (i)

the patients did not meet Medicare guideline criteria for terminal prognosis and (ii)

the team was unaware of any justifiable alternate explanation for certifying as

hospice eligible this majority of patients who clearly failed to meet the Medicare

guidelines. For example, many of the patients were falsely certified under a

diagnosis of dementia but were able to walk and talk – rendering them inappropriate

under the unambiguous Medicare guidelines for hospice under that diagnosis (and,


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as importantly, demonstrating that such patients are not at the end-stage of their

illness and should not have been put on end of life care but rather should have

remained eligible for curative treatment).

      63.    When Mr. Rehfeldt confronted the clinical team with the fact that the

patients on service were clearly inappropriate, it became obvious that Defendants’

employees were well aware of the situation but had been unable to resolve it –

several team members including the Medical Director Dr. Mohammad Naife Al-

Shroof insisted that they knew the patients were not terminally ill but had been

pressured into consenting to the will of their their colleagues and superiors that the

patients be admitted to CCH. In reviewing the census with staff, Relator discovered

that CCH still had 15 to 20 ineligible patients in hospice care who clearly did not

meet criteria for terminal diagnosis and were not hospice eligible, most of whom

were ambulatory patients with conversational ability who were falselsy designated

as end-stage dementia patients.

      64.    Prior to Relator’s assuming the program director position at the Warner

Robins program, the prior program director Valerie Montgomery, who had no

clinical training, exercised final approval over all admissions and mandated to

clinical staff, including the medical director, which patients should be admitted.

      65.    Moreover, only Ms. Montgomery could approve live discharges of

hospice patients – which rarely or never happened. Without clinical training and


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guided by CCH’s incentives based on hospice admissions and census, Ms.

Montgomery’s direction of the Warner Robins programs caused numerous ineligible

patients to be admitted to hospice care and resulted in habitual submission of false

claims.

      66.     In an effort to prevent false claims being submitted to the Medicare

program, Relator reported these ineligible patients to CCH Chief Executive Officer

Judith Grey and recommended that the patients be discharged from hospice and that

actions be taken to repay the Medicare program. Ms. Grey acknowledged the

problem and admitted that she and CCH were already aware of ineligible patients in

Warner Robins. Nevertheless, Defendants made no effort to determine how many

of the claims it had submitted for these ineligible patients were not payable or to

return any of the income from these nonpayable claims to the Medicare program.

Based upon his experience in the Warner Robins agency, Relator believes that

Defendants consistently – and knowingly – admitted and billed for non-terminal

patients in the years prior to his arrival and continues to retain these ill-gotten funds.

      67.     One of the practices that directly leads Defendants to admit ineligible

patients is its aggressive marketing scheme. Defendants solicit their hospice services

directly to potential patients, their families, and physicians through sales employees

known as “marketers.” The marketers were responsible for obtaining referrals for

admissions to CCH hospice and were required to meet a monthly quota of


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admissions or be terminated. CCH compensation is based upon each CCH agency

meeting its set quota; in other words, employees were paid on a scale that increased

as the number of patients enrolled in hospice at CCH increased, which incentivized

personnel to accept patients onto service and keep patients on service when they

were not hospice eligible. In particular, CCH marketers’ compensation is directly

linked to their ability to have patients enrolled into CCH hospice. If marketers’

monthly admissions surpassed the mandatory quota required by CCH, they received

bonuses directly based upon volume of admissions in excess of the required quota;

if monthly admissions fell short of the mandatory quota, the marketers would be

terminated.

      68.     Further evidencing Defendants’ scheme to pad its hospice rolls with

non-terminal, chronically-ill, elderly patients without a legitimate six month

prognosis was the pervasive practice of timesheet fraud. While employed as a CCH

Program Director for CCH Georgia in its Warner Robins location, Relator learned

of several instances in which CCH home health aides, a chaplain, and other

employees falsified their time sheets. These CCH employees recorded patient visits

that did not actually occur or recorded visits much longer than were actually

performed. Relator discovered that it was widely known throughout CCH that

certain patients on hospice were chronically-ill and did not truly require hospice

care. Visiting these patients who did not require care (and sometimes declined it)


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was valueless, tedious, and embarrassing to staff, many of whom eventually stopped

making the visits or reducing these visits to a simple check-in with the patient. In

order to record their required hours and receive their salary, however, CCH

employees resorted to falsifying the frequency of visits and amount of time spent

with patients who were not actually terminally ill and thus did not require hospice

care. Relator determined that CCH administrators, including prior director Valerie

Montgomery, had allowed and encouraged this practice of falsifying time sheets in

order to conceal the fact that its patients did not need any care and were not

legitimate hospice patients, allowing the patients to remain on Defendants’ rolls as

nothing more than a billing center.      Relator reported these incidents to CCH

management but did not observe that CCH ever corrected these practices past issuing

a written warning to those staff members who reported false time-sheets as reported

by Relator.

      69.     Based on the foregoing, Defendants are aware, or should have been

aware, that CCH admitted and billed for non-qualifying hospice patients.

  Defendants Falsified Medical Documentation and Billed for Patients Who
              Were Never Properly Certified as Terminally Ill

      70.     Defendants submitted false claims for hospice care provided to patients

who were not properly certified by a physician. Company leadership knew that

physicians did not participate actively in the certification decision. Moreover, at

various points medical directors had been completely absent for IDG meetings for
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long periods and allowed secretarial employees to simply forge physician signatures,

falsely certifying that the physician had made medical determinations that the

patients were eligible for the Medicare Hospice Benefit. Upon being alerted to these

problems by Relator, CHH engaged in an effort to cover up this impropriety and

avoid repaying Medicare for the resulting improper claims.

      71.    Although Defendants’ hospice medical directors are required to sign

patient COTIs, when the medical directors did sign patient COTIs, they solely relied

on the information presented by CCH nurses and staff at IDG team meetings – which

in many instances was false, as nurses were often under pressure from management

to ensure that patients remained on service. CCH medical directors participated very

little in the IDG process and made no independent effort to verify patient eligibility

as required by 42 C.F.R. §418.56. Accordingly, their certification was only as good

as the false information upon which it was based.

      72.    Moreover, Relator is aware of multiple specific instances when

physicians were also absent from the IDG team meetings in violation of 42 C.F.R.

§418.56, and where their absence was intentionally concealed by CCH employees

who forged physicians’ signatures on IDG team meeting attendance sheets, or asked

physicians to sign attendance sheets significantly after the meetings occurred, or

even had CCH staff forge required patient narratives and COTI physician signatures.




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      73.    Specifically, Dr. Mohammad Naife Al-Shroof was known by CCH to

regularly not attend IDG meetings and not review patient medical records. To affect

this fraud, Dr. Al-Shroof ordered his to secretary clone or largely “copy and paste”

the required physician narrative and electronically sign Dr. Al-Shroof’s signature on

patients’ COTIs – resulting in patently false certifications.

      74.    It was well known in the Warner Robins location that Valerie

Montgomery, the administrator prior to Mr. Rehfeldt, told the Dr. Al-Shroof that he

did not have to attend the IDG meetings, and that as a result no medical director

attended meetings for months. Relator discussed this situation with Judith Grey,

who claimed that the company was planning to make a repayment to Medicare for

claims submitted during this period, but who changed her account and drastically

reduced the amount in question when Relator sought clarification. Furthermore,

Grey encouraged the forging of IDG attendance sheets – apparently to conceal this

problem and avoid repayment.

      75.    For instance, on December 19, 2016, Relator reported to Judith Grey

and a CCH Human Resources representative that an IDG team attendance sheet from

December 2015 had been forged. In response, Grey instructed Relator to ignore the

forgeries. Further, in October 2016, Grey requested that Relator lie about certain

forged IDG team meeting attendance sheets and that he convince a CCH Warner

Robins Clinical Director to lie about how often a physician attended IDG team


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meetings. Despite Relator’s refusal to further such forgeries, the message was clear:

the highest levels of CCH management encouraged managerial employees to

manipulate records to avoid scrutiny.

      76.    Along with these major flaws and false statements in the physician

certification process, CCH also allowed nonmedical personnel such as Valerie

Montogmery        to review patient records and to select the patients who were

“qualified” for hospice service.

                         Defendants’ Retaliatory Actions

      77.    Throughout Relator’s employment at CCH, he was recognized as a

valuable employee and effective Program Director, even as his efforts to solve the

compliance problems at CCH were ignored or contradicted.            In fact, Relator

regularly received positive performance reviews, commendations, and promotions

at CCH up until he participated in a late March 2018 teleconference with two

individuals he had worked with previously, including as an employee of Vitas.

Specifically, CEO Judith Grey informed Relator in February 2018 that “he was the

best program director in the company.” Then, Relator was summarily terminated on

April 27, 2018.

      78.    Specifically, in a 90-day initial performance evaluation on December

20, 2016, Relator was determined by CEO Judith Grey to “Meet Expectations,”

“Exceed Expectations” or “Far Exceed Expectations” in all categories. In May 2017,


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then CCH COO Stacey Rowse told Relator “I am very impressed with you and your

leadership and commend the program you are building in Macon. I believe it is a

true reflection of what I would like Compassionate Care to look like across the

company. I had an opportunity to discuss strong leadership within the company with

Aliza and I told her about you.” Later, on July 31, 2017, CCH CEO Judith Grey

sent Relator an email stating “Just wanted to reach out to you and congratulate you

for a great job with the Macon office. You have put together a great team and are

making wonderful strides.”

      79.   Further, evidencing Relator’s positive job performance, Relator was

given multiple promotions while at CCH, including in February 2018 to become

Program Director of Lake and Sumter/The Villages, FL – the flagship program in

Florida and one of the most important programs in the CCH company.

      80.   However, in or around late March 2018, Relator participated in a

conference telephone call with the Florida Hospices and Palliative Care Association

that was the catalyst to Relator’s retaliatory termination. As Relator and others on

the call, including CCH CEO Judith Grey, introduced themselves, it became

apparent that two of the participants on the conference call were familiar with

Relator and his status as a whistleblower: Vitas’ Executive Vice President Peggy

Pettit, and Samira Beckwith from Hope Hospice. Significantly, as mentioned above,

while employed at Vitas, Relator reported his concerns about Vitas’ fraudulent


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conduct to Peggy Pettit. Ms. Pettit was specifically referenced as a high-level Vitas

executive that had knowledge and approved of Vitas’ systematic hospice fraud as

referenced in Relator’s qui tam Complaint.22 Additionally, Relator had worked with

Samira Beckwith when he was employed at Vitas and she was employed at Hope

Hospice.

       81.     Prior to this conference call, neither Judith Grey nor any other

executives at CCH had knowledge that Relator had filed a qui tam Complaint against

Vitas or the details of Relator’s qui tam action or his status as a whistleblower.

       82.     Soon thereafter, on April 27, 2018, departing from a consistently

positive trajectory in Relator’s employment with CCH, Relator was abruptly

terminated from employment with CCH.                   CCH executives Regional Program

Director Rana McClelland, Chief Executive Officer Judith Grey and Head of Human

Resources Robin Kaminski were present for Relator’s termination either in person

or by telephone conference.

       83.     CCH provided a pure pretense for Relator’s termination by stating

Relator had inappropriately provided bonuses to CCH Marketer Felicia McMullins

by transferring credit to her from another marketer. 23 Relator disputed these


22
   See Complaint at ¶ 8, 19, 20. Rehfeldt ex rel. United States and Texas v. Vitas Healthcare Corp.,
et al., No. 3:09-cv-00203-B (N.D. Tex.).
23
   On December 8, 2017, Relator requested and received approval from CCH National Director of
Business Development Anthony Bolden to transfer credit to CCH Savannah Pooler program
Marketer Felicia McMullins to supplement her bonus. Relator had previously changed McMullins’
territory which temporarily reduced her ability to market admissions. Upon information and belief,
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allegations, and explained that he had evidence that the bonuses to Ms. McMullins

had been approved by CCH National Director of Business Development Anthony

Bolden. However, both Ms. Grey and Ms. Kaminski—in violation of CCH standard

policy—insisted that Relator be terminated without allowing him to provide

evidence to contradict the accusation.

       84.    Relator, as a former CCH program director for CCH Georgia, is

familiar with CCH’s procedures for employee reprimands and terminations. In fact,

Relator was trained on CCH procedures for employee termination and terminated

several employees during his tenure at CCH. Therefore, Relator knows that CCH

did not follow standard procedures when terminating him. For example, it was

against standard procedures to not allow Relator an opportunity to address the

accusations made and reason for termination given by CCH. Relator is not aware of

any other CCH employee terminated in this manner, without an opportunity to

address the accusations made and reason for termination.

       85.    From the time that Relator was first employed at CCH, because of his

extensive background in the hospice industry, he was acutely aware of and had

concerns about ineligible patients being admitted to hospice care at CCH.




due to this communication between Relator and Bolden, McMullins received credit for at least one
patient in February 2018.


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      86.    As addressed supra, Relator sought to prevent false claims from being

submitted to the Medicare program by alerting CCH that a significant percentage of

patients did not qualify for the Medicare Hospice Benefit and sought discharge of

non-qualifying patients. Relator further sought to prevent false claims from being

submitted to the Medicare program by reporting and seeking to correct material

deficiencies in CCH’s administration of its hospice program, including medical

directors not attending IDG meetings, medical directors instructing their secretaries

to forge their signature on COTIs, staff members forging IDG attendance and time-

sheet fraud indicative of non-terminal patients on CCH’s census.

      87.    Based on Relator’s reporting and prevention of false claims at CCH and

upon CCH’s recent knowledge that Mr. Rehfeldt had previously filed a qui tam suit

against another hospice company where he had worked previously (and that he had

specifically named colleagues of CCH leadership in his qui tam Complaint) for some

of the same conduct he was reporting as problematic at CCH, CCH terminated

Relator’s employment and created a thin pretext to hide its unlawful retaliation.

Therefore, Relator was terminated because of lawful acts in furtherance of his qui

tam action against Vitas and his efforts to stop CCH from submitting false claims to

the Medicare program in violation of 31 U.S.C. § 3730(h).

      88.    By and through all of the circumstances described, supra, Defendants

have violated the False Claims Act.


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                        COUNT ONE
    PRESENTING OR CAUSING TO BE PRESENTED FALSE CLAIMS
                    UNDER 31 U.S.C. § 3729


       89.      Relator adopts and incorporates paragraphs 1-88 as though fully set

forth herein.

       90.      By and through the fraudulent schemes described herein, Defendants

knowingly—by actual knowledge or in deliberate ignorance or with reckless

disregard of the truth or falsity of the information—presented or caused to be

presented false or fraudulent claims to the United States for payment or approval, to

wit:


       (a)      Defendants submitted false claims for hospice care provided to patients

whom Defendants knew did not meet Medicare or Medicaid requirements for

Hospice, in violation of 42 U.S.C. §1395y;

       (b)      Defendants submitted false claims for hospice care provided to patients

who were not properly certified by a physician and in the absence of a legitimate

care plan as required by 42 C.F.R. §§ 418.22(b) and 418.56; and

       (c)      Defendants submitted false claims for hospice services premised upon

Defendants’ fraudulent certifications of compliance with Medicare regulations as

made on CMS Forms 885A and 1450 and elsewhere.




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         91.     Relying on Defendants’ false statements and certifications, the United

   States paid the false claims that it otherwise would not have paid.

         92.     Defendants’ fraudulent actions, as described supra, are part of a

   widespread, systematic pattern and practice of knowingly submitting or causing to

   be submitted false claims to the United States through fraudulent certification and

   re-certification of hospice patients and fraudulent billing of the United States

   through Medicare or Medicaid.

         93.     Defendants’ fraudulent actions described herein have resulted in

   damage to the United States equal to the amount paid or reimbursed to Defendants

   by the United States through Medicare and Medicaid for such false or fraudulent

   claims.


   WHEREFORE, Relator demands judgment in his favor on behalf of the United

States, and against Defendants, in an amount equal to treble the damages sustained by

reason of Defendants’ conduct, together with civil penalties as permitted by 31 U.S.C.

§ 3729, attorneys’ fees and costs, and such other, different, or further relief to which

Relator may be entitled.


                          COUNT TWO
    MAKING OR USING FALSE STATEMENTS OR RECORDS MATERIAL
             TO A FALSE CLAIM UNDER 31 U.S.C. § 3729




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      94.       Relator adopts and incorporates paragraphs 1-88 as though fully set

forth herein.

      95.       By and through the fraudulent schemes described herein, Defendants

knowingly—by actual knowledge or in deliberate ignorance or with reckless

disregard of the truth or falsity of the information—made, used, or caused to be made

or used, false records or statements material to a false or fraudulent claim or to get a

false or fraudulent claim paid or approved by the United States, to wit:


      (a)       Defendants created and used false certifications of terminal illness;

false patient care plans not calculated to cope with patients’ actual needs and

conditions; and other false records intended to support its fraudulent billing to the

United States, all in violation of 42 U.S.C. §1395y and the Medicare regulations

cited supra.

      (b)       Defendants made false certifications regarding past, present, or future

compliance with a prerequisite for payment or reimbursement by the United States

through Medicare or Medicaid, including false certifications on CMS Forms 885A

and 1450 as described supra, when Defendants were aware that the practices as

described herein were in violation of Medicare payment prerequisites, including but

not limited to 42 U.S.C. §1395y and the applicable LCDs.




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         96.      The false records or statements described herein were material and

   directly impacted the decision to pay the false claims submitted, or caused to be

   submitted, by Defendants to the United States.

         97.      In reliance upon Defendants’ false statements and records, the United

   States paid false claims that it would not have paid if not for those false statements

   and records.

         98.      Defendants’ fraudulent actions described herein have resulted in

   damage to the United States equal to the amount paid or reimbursed to Defendants

   and others by the United States for such false or fraudulent claims.


   WHEREFORE, Relator demands judgment in his favor on behalf of the United

States, and against Defendants, in an amount equal to treble the damages sustained by

reason of Defendants’ conduct, together with civil penalties as permitted by 31 U.S.C.

§ 3729, attorneys’ fees and costs, and such other, different, or further relief to which

Relator may be entitled.

                          COUNT THREE
         “REVERSE FALSE CLAIMS” UNDER 31 U.S.C. § 3729(a)(1)(G)


         99.      Relator adopts and incorporates paragraphs 1-88 as though fully set

    forth herein.

         100. By and through the fraudulent schemes described herein, Defendants

   knowingly—by actual knowledge or in deliberate ignorance or with reckless

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disregard of the truth or falsity of the information—made, used, or caused to be made

or used, a false records or statement material to an obligation to pay or transmit

money or property to the United States, or knowingly concealed or knowingly and

improperly avoided an obligation to pay or transmit money or property to the United

States, to wit:


       (a)    Defendants knew that they had received hospice per diem payments for

patients who did not qualify for hospice, yet Defendants took no action to satisfy

their obligations to the United States to repay or refund those payments and instead

retained the funds and continued to bill the United States;

       (b)    Defendants knowingly concealed their obligations to the United States

to repay or refund those payments by terminating Relator’s employment because he

represented a threat to disclose the obligations to repay or refund payments;

       (c)    Defendants knew that they were in material violation of the terms of

the CIA and that, had the United States known of such violation, Defendants would

have been required to pay significant Stipulated Penalties to the United States and

would have been excluded from the Medicare program. Nevertheless, Defendants

concealed their material violations of the CIA and continued to submit false claims

to the United States.




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      101. As a result of Defendants’ fraudulent conduct, the United States has

suffered damage in the amount of funds that belong to the United States but are

improperly retained by Defendants.


      WHEREFORE, Relator demands judgment in his favor on behalf of the

United States, and against Defendants, in an amount equal to treble the damages

sustained by reason of Defendants’ conduct, together with civil penalties as

permitted by 31 U.S.C. § 3729, attorneys’ fees and costs, and such other, different,

or further relief to which Relator may be entitled.

                       COUNT FOUR
           MATERIAL BREACH OF CORPORATE INTEGRITY
       AGREEMENT AND FALSE CLAIMS UNDER 31 U.S.C. § 3729

      102. Relator adopts and incorporates paragraphs 1-88 as though fully set

forth herein.

      103. By and through the fraudulent and retaliatory schemes described herein,

Defendants have materially breached the CIA. See CIA Part X, Section D. Such

material breaches included repeated and/or flagrant violations of the obligations

under the CIA and failure to report a Reportable Event, take corrective action, and

make appropriate refunds as required by the CIA. Id.

      104. According to the CIA, these material breaches of the CIA constitute an

independent basis for Defendants’ exclusion from participation in the Federal health

care programs. Id. As a result, Defendants’ continued submission of claims to the

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Medicare program are in violation of the False Claims Act, and the claims thus

submitted are false or fraudulent.


      WHEREFORE, Relator demands judgment in his favor on behalf of the

United States, and against Defendants, in an amount equal to treble the damages

sustained by reason of Defendants’ conduct, together with civil penalties as

permitted by 31 U.S.C. § 3729, attorneys’ fees and costs, and such other, different,

or further relief to which Relator may be entitled.

                             COUNT FIVE
                   FAILURE TO COMPLY WITH CORPORATE
                         INTEGRITY AGREEMENT

      105. Relator adopts and incorporates paragraphs 1-88 as though fully set

forth herein.

      106. By and through the fraudulent and retaliatory schemes described herein,

Defendants have failed to comply with certain obligations of the CIA that incur

imposition of stipulated monetary penalties. See CIA Part X, Section A. Such failure

to comply includes failure to report Reportable Events and submission of false

certifications by or on behalf of Defendants on required Annual Reports. Id.

      107. As a result of Defendants’ fraudulent conduct, Defendants are subject

to stipulated penalties as provided by CIA Part X, Section A, including a Stipulated

Penalty of $2,500 for failure to implement reporting of Reportable Events; a

Stipulated Penalty of $50,000 for each false certification submitted by or on behalf

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of Defendants as part of their Implementation Report or Annual Report; and a

Stipulated Penalty of $1,000 for each day Defendants failed to comply fully and

adequately with any obligation of the CIA. Id.


      WHEREFORE, Relator demands judgment in his favor on behalf of the

United States, and against Defendants, in an amount equal to treble the damages

sustained by reason of Defendants’ conduct, together with civil penalties as

permitted by 31 U.S.C. § 3730(c)(5), including attorneys’ fees and costs, and such

other, different, or further relief to which Relator may be entitled.

                              COUNT SIX
                    RETALIATION UNDER 31 U.S.C. 3730(h)

          108. Relator adopts and incorporates paragraphs 1-88 as though fully set

forth herein.

          109. Defendants knowingly discriminated against and discharged Relator

because of lawful acts done by the Relator in furtherance of a False Claims Act

action.

          110. Defendants knowingly discriminated against and discharged Relator

because of lawful acts done by the Relator in an effort to stop violations of the False

Claims Act.

          111. As a result of Defendants’ retaliatory conduct, Relator has suffered

damages of extended periods of lost pay, irreparable harm to his personal and


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professional reputation, undue hardship forced upon Relator and his family, and

extended infliction of emotional distress upon Relator and his family.


      WHEREFORE, Relator demands judgment in his favor and against

Defendants, in an amount of two times the amount of back-pay accrued since

Relator’s termination, interest on that back-pay, and compensation for special

damages caused by Defendants’ discrimination, including litigation costs and

attorneys’ fees as permitted by 31 U.S.C. § 3730(h)(2).

      Date: July 29 2019.



                                /s/ Benjamin P. Bucy
                                JAMES F. BARGER JR.
                                J. ELLIOTT WALTHALL
                                ELISE MAY FROHSIN
                                BENJAMIN P. BUCY

                                Attorneys for Relator Michael A. Rehfeldt

OF COUNSEL

FROHSIN, BARGER & WALTHALL
100 Main Street
St. Simons Island, Georgia 31522
Tel: 205.933.4006
Fax: 205.933.4008



            RELATOR DEMANDS A TRIAL BY STRUCK JURY



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                         CERTIFICATE OF SERVICE

      On or before the 7th day of August, 2019, Relator hereby certifies that in

compliance with Rule 4 of the Federal Rules of Civil Procedure, service of the Qui

Tam Complaint has been executed as follows:

By Certified Mail to:
United States Attorney for the Middle District of Georgia
Attn: Assistant United States Attorney Todd Swanson
300 Mulberry Street,
Macon, Georgia 31201

By Certified Mail to:
Attorney General of the United States
U.S. Department of Justice
Attn: Civil Frauds Division
950 Pennsylvania Avenue, NW
Washington, DC 20530-0001




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